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                                                           June 2, 2016

 VIA ECF

 J. Paul Oetken
 United States District Court
 Thurgood Marshall
 United States Courthouse
 40 Foley Square
 New York, New York 10007

                      Re:   Richardson v. Farina et al.
                            16-CV-01364
                            Our File No. 61172

 Dear Judge Oetken:

         This office represents the plaintiff in the above matter. Defendants have filed a motion to
 dismiss and our papers are returnable today. This is to request a one week extension for this
 office to file its opposition to the motion to dismiss. This is the first request for an adjournment
 and the New York City Law Department per Kevin P. Connolly has authorized this office to
 advise that he consents to this application.

           Your attention to this matter is appreciated.

                                                           Very truly yours,




                                                           Jay B. Itkowitz


 cc:       Kevin P. Connolly, Assistant Corporation Counsel
